
2 A.3d 558 (2010)
The PENNSYLVANIA STATE EDUCATION ASSOCIATION, by Lynne WILSON, General Counsel, William McGill, F. Darlene Albaugh, Heather Kolanich, Wayne Davenport, Frederick Smith, Jamie McPoyle, Brianna Miller, Valerie Brown, Janet Layton, Korri Brown, Al Reitz, Lisa Lang, Brad Group and Randall Sovisky, Appellees
v.
COMMONWEALTH of Pennsylvania, DEPARTMENT OF COMMUNITY AND ECONOMIC DEVELOPMENT, OFFICE OF OPEN RECORDS, and Terry Mutchler, Executive Director of the Office of Open Records, Appellants.
Pennsylvania Association Of School Retirees, Ureneus V. Kirkwood, John B. Nye, Stephen M. Vak, Richard Rowland, Simon Campbell, Intervenors.
76 MAP 2009
Supreme Court of Pennsylvania.
August 17, 2010.


*559 ORDER

PER CURIAM.
AND NOW, this 17th day of August, 2010, the order of the Commonwealth Court is hereby AFFIRMED, without prejudice to any party's right to appeal the Commonwealth Court's final disposition of these proceedings.
Jurisdiction relinquished.
